         Case 1:23-cr-00036-PB       Document 21          Filed 01/17/25        Page 1 of 1

                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW HAMPSHIRE


UNITED STATES OF AMERICA                          )
                                                  )
       v.                                         )       Docket No. 23-cr-00036-PB
                                                  )
STEVEN POWELL                                     )


                            WITHDRAWAL OF APPEARANCE

       Please enter my withdrawal as counsel for the United States of America in the above-

entitled matter.

                                                      Respectfully submitted,

                                                      JANE E. YOUNG
                                                      United States Attorney


Date: January 17, 2025                        By: /s/ John J. McCormack
                                                  John J. McCormack
                                                  First Assistant U.S. Attorney
                                                  53 Pleasant Street, 4th floor
                                                  Concord, NH 03301
                                                  Jay.McCormack@usdoj.gov
